1. Where an act is within the power of county commissioners, the manner of doing it must be largely left to their discretion, which must be a broad one. There should be no interference unless it is clear and manifest that they are abusing the discretion vested in them by law.
2. The grounds of the amended motion are without merit.
                   Nos. 15270, 15279. OCTOBER 3, 1945.
John H. Moore, a member of the board of commissioners of roads and revenues of Lumpkin County, brought a petition for mandamus absolute against C. H. Mauldin, and Richard O. Jarrard, *Page 781 
the other members of the board, and Doyle Anderson, clerk of the board.
At the trial it developed that there was friction in the board, which grew partly out of the demand of Moore that all books, records, and articles of value in the office be made available to him at all times, and that no book, record, or article be placed under lock and key unless a key thereto was supplied him. Moore contended that he had been denied access to the books and records of the board. Upon the trial the evidence disclosed that the minute book, the ledger, and certain other records were at all times available to Commissioner Moore; that the clerk of the board kept certain other items locked in a metal filing case situated in the office of the board; and that only the clerk had a key thereto, though he would unlock it and make its contents available to any member of the board or citizen upon request. In this metal filing cabinet there were kept money, checks, stamps, due bills, gasoline and fuel coupons, bank statements and pass books, a warrant book, contracts and correspondence relating to contracts, paid vouchers, and "some old ODT records, keeping up the mileage of different trucks owned by the county."
There was ample evidence to establish the fact that all books and records except those locked in the filing cabinet were at all times open to the inspection and examination of any commissioner or citizen; that the minute book and "book containing the acts and doings of the commissioners" were kept accessible to Commissioner Moore or anyone else. As to the records kept in the filing cabinet the clerk testified that no one had a key thereto except himself, but that the contents were available for examination by Moore or any one else on application to the clerk.
It was undisputed that the other two members of the board had caused such books and records as were kept in the filing cabinet to be placed in charge of the clerk and locked up with the key in the hands of the clerk only.
The jury returned a verdict in favor of the defendants, and to the overruling of a motion for new trial the plaintiff excepted.
1. The sole question presented under the general grounds is whether *Page 782 
the clerk of the commissioners of roads and revenues of Lumpkin County has a right to keep, in the courthouse, any record or article pertaining to the office of the board of commissioners locked in a receptacle, without supplying each member of the board with a key thereto.
The board of commissioners of roads and revenues of Lumpkin County was created by the act approved August 11, 1919 (Ga. L. 1919, p. 682). Under section 14 of the act, it is provided among other things that they have jurisdiction "In controlling and directing all property of said county as they may deem expedient according to law." Also, that they "shall have jurisdiction and full control . . . in making such rules and regulations as they may deem best for the interest of said county governing all minor officers and employees appointed by them." Under section 10 of the act, making provision for a clerk, his duties are defined as being "to keep a record of all the acting and doings of said board at the courthouse in said county; said records to be open for inspection of any citizen or citizens of said county at all times, if the same does not conflict with the meetings of said board, and said clerk shall keep all books and records in a neat, and first class condition at all times."
Where an act is within the power of the county commissioners, the manner of doing it must be largely left to their discretion, and that discretion must be a broad one. There should be no interference had unless it is clear and manifest that they are abusing the discretion vested in them by law. Commissioners ofHabersham County v. Porter Mfg. Co., 103 Ga. 613
(30 S.E. 547); Dyer v. Martin, 132 Ga. 445 (64 S.E. 475); Dunn v.Beck, 144 Ga. 148 (86 S.E. 385); Terry v. Wade,149 Ga. 580 (101 S.E. 539); Thomas v. Ragsdale, 188 Ga. 238
(3) (3 S.E.2d 567).
It is clear that under this act the direction and control of the property of the county was delegated to the commissioners. The books and records kept by them are part of the county property, and the manner in which these books and records are preserved and used is a matter within the discretion of the board. There being evidence to establish that the board delegated their custody to the clerk and placed the responsibility for their preservation upon him, and that he kept certain specified records locked up but available to any commissioner or citizen upon request, therefore whether *Page 783 
this plan of handling the books and records was an abuse of discretion vested in the board was a question of fact for the jury (Terry v. Wade, 149 Ga. 580 (3), 101 S.E. 539); and the jury having found upon this issue against the petitioner for mandamus, the court did not err in overruling the motion for new trial on the general grounds.
2. Both grounds of the amended motion are in effect amplifications of the general grounds, and are controlled by the rulings above made. Neither was the charge of the court argumentative or prejudicial by reason of having repeated a certain principle of law which was applicable and germane to the issues involved; nor was it error in failing to define "clerical or ministerial functions and duties," in the absence of a proper request therefor.
Judgment affirmed on the main bill of exceptions. Cross-billdismissed. All the Justices concur, except Candler, J.,disqualified.